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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

VIRAL STYLE, LLC,

             Plaintiff,
v.                                                  Case No.

IRON MAIDEN HOLDINGS LTD.
and AM SULLIVAN LAW, LLC,

             Defendants.
                                           /

                                 COMPLAINT

      Plaintiff Viral Style, LLC (“Viral Style”) sues Defendants Iron Maiden

Holdings Ltd. (“Iron Maiden”) and AM Sullivan Law, LLC (“AMS Law”)

(collectively, “Defendants”) as follows:

                            NATURE OF ACTION

      1.     The actions at issue in this lawsuit are akin to a high-tech and

sophisticated bank robbery. Defendants improperly, and without authorization

to do so, took $200,000.00 out of Viral Style’s PayPal, Inc. (“PayPal”) account.

This is an action for monetary relief for conversion, fraud, tortious interference

with a business relationship, and civil conspiracy under Florida common law.

Viral Style has served a civil theft demand letter on Defendants and intends on

amending this Complaint after thirty (30) days have passed since the service of

those demand letters.
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                                    PARTIES

      2.     Viral Style is a Florida limited liability company with its principal

place of business in Tampa, Florida. Its members are citizens of Florida.

      3.     Iron Maiden is a British company with its principal place of

business in the London, England. Iron Maiden is associated with the English

metal band of the same name. Iron Maiden is in the business of creating,

developing, marketing, and licensing the band’s products, including apparel and

memorabilia. Iron Maiden does significant business in Tampa, Florida.

      4.     AMS Law is an Illinois limited liability company with its principal

place of business in Chicago, Illinois. Upon information and belief, its members

are citizens of Illinois.    At all material times, Ann Marie Sullivan, Esq.

(“Sullivan”) was an agent of AMS Law, and the acts or omissions of Sullivan were

committed within the scope of the agency relationship between Sullivan and

AMS Law. Upon information and belief, AMS Law acknowledged that Sullivan

would act on its behalf when practicing law, Sullivan accepted this undertaking,

and AMS Law controlled the actions of Sullivan when she was practicing law for

the benefit of AMS Law.

                        JURISDICTION AND VENUE

      5.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §

1332 because the matter in controversy exceeds $75,000 – exclusive of interest,

costs, and attorneys’ fees – and is between a U.S. citizen and a citizen of a foreign



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country, as well as between citizens of different states.

      6.     This Court has personal jurisdiction over Iron Maiden and AMS

Law because they committed tortious acts within Florida. AMS Law and Iron

Maiden misappropriated and conspired to misappropriate Viral Style’s funds,

and the harm caused to Viral Style by that misappropriation occurred in Florida.

Furthermore, AMS Law made false misrepresentations to Viral Style’s

representatives, who are located in Florida.

      7.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)

because Viral Style is located in the Middle District of Florida, Iron Maiden does

significant business in the Middle District of Florida, and a substantial part of

the events or omissions giving rise to the claims occurred in the Middle District

of Florida. Venue is also proper in this Court pursuant to 28 U.S.C. § 1391(c)(3)

because Iron Maiden is not a U.S. resident.

                         GENERAL ALLEGATIONS

A.    Viral Style’s Business.

      8.     Viral Style is an online service provider e-commerce platform

and/or marketplace. Viral Style operates an e-commerce website that allows

user-sellers to create, design, sell, and distribute various custom products, such

as clothing, hats, and accessories. Viral Style’s services allow user-sellers to

create, design, sell, and distribute their custom products without the typical

administrative and operational burdens, such as inventory, printing,



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transactional services, and fulfillment of orders. Individuals or entities with

creative ideas for products, but lack the recourses or desire to manufacture or

produce those products, can use Viral Style’s services to turn their ideas into

tangible products that user-sellers can sell.

      9.     The process by which user-sellers enable Viral Style’s platform to

create, design, and sell their products (referred to as a “campaign”) is as follows:

             a.    After creating an account, the user-seller selects basic

                   information about the product, such as the product category

                   and specific materials to make the product.

             b.    Next, the user-seller can select a product or group of products

                   they would like to offer with their custom art. Then, the user-

                   seller can customize the selected product by uploading their

                   image file from their user-seller’s computer and setting the

                   size and location on the product they would like to offer.

             c.    After setting the price of the product, the user-seller posts the

                   product for sale on Viral Style’s website and advertises the

                   sale of the product as the user-seller sees fit.

      10.    User-sellers launch or relaunch approximately 4,000 campaigns

each day on Viral Style’s website.

      11.    Viral Style is not a copyright infringer. Just like Amazon, eBay, and

Facebook, Viral Style is protected from allegations of copyright infringement by



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the Digital Millennium Copyright Act’s safe harbor for online service provider e-

commerce platforms and/or marketplaces.

      12.    When a user-seller creates an account and begins selling products

on Viral Style’s website, the user-seller expressly agrees to Viral Style’s “Terms

of Service,” which includes Viral Style’s “User Agreement,” “Intellectual

Property Complaint Policy,” “Counter-Notice Policy,” “Repeat Intellectual

Property Complaint Policy,” “Refund Policy,” and “Privacy Policy.” A true and

correct copy of Viral Style’s Terms of Service, which includes these various

policies, is attached as Exhibit A.

      13.    Viral Style’s Terms of Service and accompanying policies are

designed, in part, to prevent copyright and trademark infringement.            For

example, Viral Style’s User Agreement states, among other things:

      2.     With respect to any trademarks, service marks, or copyrights
             that you have licensed from the owner thereof (the “Licensed
             Rights”), you agree to comply with any restrictions or
             conditions imposed on the use of the Licensed Rights.

      3.     You agree that you are the owner, or licensee, of all rights
             associated with any created or uploaded artwork or text,
             including but not limited to, the trademarks and copyrights
             that may be associated with said material. If you are not the
             owner, you agree to provide Viralstyle with evidence of the
             permission given to you by the owner.

      4.     You agree that the description and title of the campaign do
             not, either in and of themselves or in addition to the text and
             images featured in the created merchandise, infringe upon
             the rights of any third party.

             ....


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      6.        You understand and agree that Viralstyle may, in its sole
                discretion, release your contact information to a third party
                that satisfactorily alleges, pursuant to Viralstyle’s Intellectual
                Property Complaint Policy below, unauthorized use of its
                intellectual property.

                ....

      8.        Upon receipt by Viralstyle of an allegation of infringement
                that comports with Viralstyle’s Intellectual Property
                Complaint Policy, in Viralstyle’s sole discretion, your
                campaign may be subject to immediate cancellation, possible
                forfeiture of any profits, and suspension or termination of
                your account with Viralstyle.

                ....

      11.       You agree to defend, indemnify, and hold Viralstyle and its
                affiliates harmless from and against any and all claims,
                damages, costs, and expenses, including attorneys’ fees,
                arising from or relating to your use of Viralstyle’s site and
                services, your violation of this Agreement, or your violation
                of any rights of another.

(Ex. A at 3).

      14.       The Intellectual Property Complaint Policy allows third parties to

report to Viral Style possible intellectual property infringement by user-seller’s

products.   (Ex. A at 3-4). 1       Additionally, the Repeat Intellectual Property

Complaint Policy provides that Viral Style may terminate a user-seller’s account



1 For example, twice in the last four years, an Iron Maiden representative made a
complaint related to Iron Maiden’s intellectual property. On June 6, 2017, a complaint
was made and the issue was handled and resolved within one business day. On
November 19, 2018, a complaint was made and the issue was handled and resolved on
the same day. No other complaints have ever been made to Viral Style related to Iron
Maiden.

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if there are repeated complaints of intellectual property misuse by the user’s

products. (Ex. A at 4-5).

      15.    When a user-seller’s product is sold, the proceeds from that sale are

paid directly to Viral Style by the purchaser via PayPal. After Viral Style receives

those funds into its PayPal account, Viral Style pays the majority of the sale

proceeds to the user-seller who sold the product. Viral Style retains a portion of

the sale proceeds as administrative charges.           This payment process is

substantially similar to other e-commerce websites like eBay and Etsy.

      16.    Viral Style’s PayPal account is a business account used solely by

Viral Style for its day-to-day business. Viral Style’s users do not have access to

Viral Style’s PayPal account.     Viral Style’s PayPal account is not a shared

account. Hundreds of millions of dollars have been transacted through Viral

Style’s PayPal account.

B.    The Illinois Lawsuit.

      17.    On or about September 4, 2020, AMS Law, on behalf of Iron

Maiden, sued hundreds of defendants, alleging a complex and well-organized

international conspiracy to infringe on Iron Maiden’s intellectual property,

styled, XYZ Corporation v. The Partnerships and Unincorporated Associations

Identified on Schedule “A”, Case No. 1:20-cv-05251, in the U.S. District Court

for the Northern District of Illinois (the “Illinois Lawsuit”). A true and correct

copy of the amended complaint filed in the Illinois Lawsuit, which was filed the



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same day as the original complaint, is attached as Exhibit B.

      18.    The amended complaint in the Illinois Lawsuit did not expressly

name any defendants in the actual pleading, but instead merely identified the

defendants as the numerous entities listed in Schedule “A” to the amended

complaint. (See Ex. B at 2, 36-39). Viral Style was one of the defendants listed

in Schedule A. Neither Viral Style nor any of the other numerous unrelated

defendants listed in Schedule A are actually mentioned in the amended

complaint, as Iron Maiden refers to them all collectively as, “Defendants.”

      19.    Viral Style, however, had no involvement in the conspiracy alleged

in the Illinois Lawsuit, and as explained below, Viral Style was named as a

defendant in the Illinois Lawsuit by accident. Indeed, as explained above, Viral

Style takes numerous measures to prevent intellectual property infringement on

its website. AMS Law knew Viral Style was a legitimate standalone company,

and not a cog in the wheel of an international conspiracy to create counterfeit

products, because AMS Law used Viral Style’s website.

      20.    Additionally, Viral Style was never served process in the Illinois

Lawsuit. In fact, neither Iron Maiden nor AMS Law ever even attempted to serve

process on Viral Style in the Illinois Lawsuit pursuant to the Federal Rules of

Civil Procedure. This is despite the fact that AMS Law used Viral Style’s website

and clearly knew how to contact Viral Style. Furthermore, there was no basis to

assert personal jurisdiction over Viral Style in the Illinois Lawsuit.



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      21.    On September 15, 2020, AMS Law, on behalf of Iron Maiden, filed

an ex parte motion for a temporary restraining order, a temporary injunction,

temporary asset restraint, and expedited discovery. True and correct copies of

the ex parte motion and memorandum in support are attached as Exhibit C. No

defendant in the case attempted to block the temporary restraining order and

no defense counsel even appeared at the hearing on Iron Maiden’s motion for

temporary restraining order.

      22.    On September 16, 2020, the Illinois court granted Iron Maiden’s ex

parte motion. A true and correct copy of the order granting the ex parte motion

is attached as Exhibit D.

      23.    On September 28, 2020, using the order granting Iron Maiden’s ex

parte motion, Defendants forced PayPal to freeze Viral Style’s PayPal account.

A true and correct copy of the email from PayPal notifying Viral Style of the

freeze on its account is attached as Exhibit J.

      24.    The freezing of Viral Style’s PayPal account immediately caused

substantial monetary damage and reputational harm to Viral Style.           The

relationship between Viral Style and its users was severely damaged by the

restrictions on Viral Style’s PayPal account.     For example, the restrictions

prevented Viral Style from paying its user-sellers who had sold products and

demanded payment, resulting in user-sellers moving their sales to competitor

platforms and an immediate decline in Viral Style’s sales. Indeed, Viral Style’s



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 sales immediately declined and continued to decline for multiple months

 following the freeze on Viral Style’s PayPal account.

       25.    After the freezing of its account, Viral Style immediately contacted

 PayPal to determine the reason Viral Style’s account had been frozen. PayPal

 explained that the account was frozen due to the injunction order presented by

 Defendants. This was the first time Viral Style learned of the Illinois Lawsuit.

       26.    On September 29, 2020, after learning from PayPal that Viral

 Style’s account was frozen because of the Illinois Lawsuit, Viral Style’s counsel

 immediately contacted Sullivan. Viral Style’s counsel explained to Sullivan that

 Viral Style is merely an online service provider e-commerce platform and/or

 marketplace and not involved in any conspiracy to infringe on Iron Maiden’s

 intellectual property.   Viral Style’s counsel therefore demanded that Iron

 Maiden unfreeze Viral Style’s PayPal account and dismiss Viral Style from the

 Illinois Lawsuit. A true and correct copy of the correspondences between Viral

 Style’s counsel and Sullivan is attached as Exhibit E.

       27.    On September 30, 2020, in response to the information provided

 by Viral Style’s counsel, Sullivan admitted that Viral Style was mistakenly added

 to the Illinois Lawsuit and agreed to dismiss Viral Style from the Illinois Lawsuit.

 (Ex. E at 8). While agreeing that Viral Style was improperly named as a

 defendant and should be dismissed, Sullivan attempted to assert that Viral Style

 shares a PayPal account with two other defendants in the Illinois Lawsuit,



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 “BEATTEE” and “89ARTSHIRT.” (See id.).

       28.    In response, Viral Style’s counsel explained to Sullivan that while

 “BEATTEE” and “89ARTSHIRT” are users of Viral Style’s website, they do not

 share a PayPal account with Viral Style. Viral Style’s counsel further explained

 that Viral Style’s PayPal account is a business account, and neither “BEATTEE,”

 “89ARTSHIRT,” nor any other users have any access or interest in Viral Style’s

 PayPal account. (Ex. E at 6-7). Indeed, as explained above, payments made to

 Viral Style’s user-sellers are processed through Viral Style’s PayPal account, and

 then Viral Style pays money to the user-sellers for the goods they sold.

       29.    On October 1, 2020, in response to the additional information

 provided by Viral Style’s counsel, Sullivan “agree[d] that the restraint as to [Viral

 Style] needs to be released” and agreed to dismiss Viral Style from the Illinois

 Lawsuit. (Ex. E at 5).

       30.    As a result, on October 2, 2020, AMS Law, on behalf of Iron

 Maiden, voluntarily dismissed Viral Style from the Illinois Lawsuit. A true and

 correct copy of the notice of voluntary dismissal is attached as Exhibit F. 2

       31.    Following Viral Style’s dismissal from the Illinois Lawsuit, Viral


 2 A review of the docket in the Illinois Lawsuit shows that several defendants were
 dismissed in the lawsuit. It appears that each time an attorney would make an
 appearance, on the record or off the record, that attorney’s client would get dismissed.
 As a result, Iron Maiden and AMS Law never received any opposition. By avoiding any
 opposition whatsoever in the Illinois Lawsuit, Iron Maiden and AMS Law were able to
 obtain a judgment for millions of dollars against dozens of defendants in under three
 months. Iron Maiden and AMS Law used that judgment to take $200,000.00 from
 non-party Viral Style.

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 Style’s PayPal account was unfrozen. No holds were placed on the PayPal

 account either, as was previously threatened by Sullivan.

       32.    On October 26, 2020, AMS Law, on behalf of Iron Maiden, filed a

 motion for preliminary injunction in the Illinois Lawsuit, which the court

 granted on October 28, 2020. A true and correct copy of the order granting the

 motion for preliminary injunction is attached as Exhibit G. Again, no defendant

 contested the motion for preliminary injunction and no defense counsel

 appeared at the hearing on the motion for preliminary injunction.

       33.    On November 25, 2020, AMS Law, on behalf of Iron Maiden, filed

 a motion for default as to all remaining defendants (none of which had made

 any filings) in the Illinois Lawsuit.

       34.    On December 1, 2020, the court held a hearing on Iron Maiden’s

 motion for default. Upon information and belief, Sullivan misrepresented to the

 Illinois court that “BEATTEE” and “89ARTSHIRT” owned Viral Style’s PayPal

 account during the hearing.       The Illinois court ultimately granted a Final

 Judgment Order as to the defaulted defendants (only), including “BEATTEE”

 and “89ARTSHIRT.” A true and correct copy of the Final Judgment Order is

 attached as Exhibit H. Once again, because all of the defendants that would

 defend had been dismissed from the lawsuit, no defendant contested the motion

 for default and no defense counsel appeared at the hearing on Iron Maiden’s

 motion for default.



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       35.    Viral Style was not subject to the Final Judgment Order, as Viral

 Style was not even a defendant in the Illinois Lawsuit at that time. Indeed, the

 “Amended Schedule A” to the Final Judgment Order indicates Viral Style’s

 dismissal from the lawsuit. (See Ex. H at 12, ¶ 93).

 C.    Iron Maiden and AMS Law’s Theft.

       36.    On February 1, 2021, without providing any notice to Viral Style,

 Iron Maiden, with assistance from AMS Law, improperly misappropriated

 $200,000.00 from Viral Style’s PayPal account.

       37.    Iron Maiden and AMS Law misappropriated these funds with full

 knowledge that Viral Style: (a) was dismissed from the Illinois Lawsuit, (b) was

 only named as a defendant in the Illinois Lawsuit by mistake, (c) was not bound

 by the Final Judgment Order, (d) was an online service provider e-commerce

 platform and/or marketplace that did not infringe on Iron Maiden’s intellectual

 property, and (e) did not share its PayPal account with BEATEE or

 89ARTSHIRT.

       38.    Despite repeated demands, Iron Maiden and AMS Law refuse to

 return the $200,000.00 taken from Viral Style’s PayPal account. True and

 correct copies of the demand letters sent to Iron Maiden and AMS Law are

 attached collectively as Exhibit I.

       39.    All conditions precedent to bringing and maintaining this action

 have been performed, were waived, would be futile if attempted, or have



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 otherwise been satisfied or occurred.

       40.    Viral Style has retained Holland & Knight LLP to represent it in this

 action and has agreed to pay the firm reasonable attorneys’ fees and costs for its

 services.

                           COUNT I – CONVERSION
                               (Iron Maiden)

       41.    Viral Style incorporates the allegations in paragraphs 1 through 40

 of the Complaint by reference as if fully set forth herein.

       42.    This is an action for conversion under Florida common law.

       43.    The money in Viral Style’s PayPal account – including the

 $200,000.00 misappropriated by Iron Maiden – is Viral Style’s property.

       44.    Iron Maiden wrongfully asserted possession of and converted to its

 own use $200,000.00 from Viral Style’s PayPal account.

       45.    Iron Maiden’s wrongfully asserted dominion over the $200,000.00

 is inconsistent with Viral Style’s property rights.

       46.    Iron Maiden knew or should have known that it had no right to take

 Viral Style’s property.

       47.    Viral Style has been damaged by Iron Maiden’s conversion.

       48.    Iron Maiden’s conversion was intentional and willful, and

 therefore, entities Viral Style to an award of punitive damages.




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                                COUNT II – FRAUD
                            (Iron Maiden and AMS Law)

          49.    Viral Style incorporates the allegations in paragraphs 1 through 40

 of the Complaint by reference as if fully set forth herein.

          50.    This is an action for fraud under Florida common law.

          51.    AMS Law, on behalf of Iron Maiden, made numerous false

 statements concerning material facts. AMS Law falsely accused Viral Style of

 trademark infringement. AMS Law also falsely represented to Viral Style that

 the restrictions on Viral Style’s PayPal account would be removed and Viral Style

 would no longer be impacted by the Illinois Lawsuit following dismissal.

 Additionally, AMS Law and Iron Maiden falsely represented to PayPal that the

 Illinois Lawsuit affected Viral Style’s rights and allowed Defendants to take

 funds out of Viral Style’s PayPal account.

          52.    AMS Law and Iron Maiden knew or should have known these

 representations were false.

          53.    AMS Law and Iron Maiden made these representations to induce

 Viral Style to not defend against the allegations in the Illinois Lawsuit. Upon

 information and belief, Iron Maiden and AMS Law did the same thing with

 numerous defendants. 3 AMS Law and Iron Maiden also made these

 representations to induce PayPal into freezing Viral Style’s account and granting

 Defendants the ability to improperly take funds from Viral Style’s account.


 3   Regarding AMS Law, this is a pattern and practice across multiple similar lawsuits.

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       54.    Viral Style suffered significant injury as a result of AMS Law and

 Iron Maiden’s false representations – including monetary damage and

 reputational harm.

             COUNT III – TORTIOUS INTERFERENCE WITH
              ADVANTAGEOUS BUSINESS RELATIONSHIP
                     (Iron Maiden and AMS Law)

       55.    Viral Style incorporates the allegations in paragraphs 1 through 40

 of the Complaint by reference as if fully set forth herein.

       56.    This is an action for tortious interference with an advantageous

 business relationship under Florida common law.

       57.    Viral Style has a beneficial business relationship with PayPal and

 its user-sellers that Viral Style reasonably expected to continue and from which

 Viral Style expected sales and profits.

       58.    Defendants had actual or constructive knowledge of Viral Style’s

 advantageous business relationship with PayPal and its user-sellers.         For

 example, AMS Law, on behalf of Iron Maiden, sued two of Viral Style’s user-

 sellers in the Illinois Lawsuit. Additionally, Sullivan admitted that she has

 personally used Viral Style’s website, so AMS Law understands the nature of the

 business relationship between Viral Style and PayPal and its user-sellers.

       59.    Defendants intentionally and unjustifiably interfered with Viral

 Style’s business relationship with PayPal and its user-sellers through

 Defendants’ improper conduct alleged herein – including, but not limited to,



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 causing the freezing of Viral Style’s PayPal account.

       60.       There was no reasonable or legitimate justification for Defendants’

 malicious and intentional inference with Viral Style’s business relationship with

 PayPal and its user-sellers. Instead, Defendants’ conduct was intended to

 pressure and extort a payment from Viral Style, so that Viral Style could resume

 its business.

       61.       Viral Style has been damaged by Defendants’ intentional and

 unjustifiable interference with Viral Style’s advantageous business relationship

 with PayPal and its user-sellers.

       62.         As a direct and proximate result of Defendants’ intentional and

 unjustified interference, Viral Style has suffered and will continue to suffer

 damages in the form of, among other things, lost sales, lost profits, and loss of

 good will.

       63.       Defendants’ conduct was intentional and willful, and therefore,

 entitles Viral Style to an award of punitive damages.

                        COUNT IV – CIVIL CONSPIRACY
                          (AMS Law and Iron Maiden)

       64.       Viral Style incorporates the allegations in paragraphs 1 through 40

 of the Complaint by reference as if fully set forth herein.

       65.       This is an action for civil conspiracy under Florida common law.

       66.       Defendants entered into an agreement in which AM Law would

 represent Iron Maiden in the Illinois Lawsuit to obtain improper judgments and


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 extort settlements from innocent parties. As part of this unlawful scheme,

 Defendants have conspired to interfere with Viral Style’s business relationship

 with PayPal and its user-sellers to allow Defendants to extort a settlement from

 Viral Style.

       67.      Defendants have taken overt acts in furtherance of the conspiracy

 by filing a frivolous and deceptive lawsuit, deceptively procuring the freezing of

 Viral Style’s PayPal account, and misappropriating funds from Viral Style’s

 PayPal account.

       68.      Viral Style has been damaged by this unlawful scheme and the acts

 taken by Defendants in furtherance of this scheme.

                             PRAYER FOR RELIEF

       WHEREFORE, based on the foregoing, Viral Style respectfully requests

 that this Court enter judgment in its favor and against Defendants for monetary

 damages, attorneys’ fees, costs, and interests.

                                   JURY TRIAL

       Viral Style demands a trial by jury on all issues so triable.


       Dated: February 24, 2021                HOLLAND & KNIGHT LLP

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                                           Viral Style, LLC




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